                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE


 JOSHUA JARRETT and                     )
 JESSICA JARRETT,                       )                Case No. 3:21-cv-00419
                                        )
          Plaintiffs,                   )                District Judge William L. Campbell, Jr.
                                        )
          v.                            )                Magistrate Judge Alistair E. Newbern
                                        )
 UNITED STATES OF AMERICA,              )
                                        )
          Defendant.                    )
 _______________________________________)

                        UNITED STATES’ OPPOSITION TO
             PLAINTIFFS’ MOTION FOR LEAVE TO AMEND COMPLAINT

                                           Introduction

       After discussing the United States’ planned motion to dismiss with the Court, agreeing to

a briefing schedule, and following full briefing of the motion, Plaintiffs now ask for leave to amend

the Complaint and the entry of a new scheduling order. They claim to do this purely out of

necessity because the United States pointed out in its reply that Plaintiffs had not requested

prospective relief they are precluded by law from obtaining.

       The proposed amendments are futile. The United States moved to dismiss this case for

mootness under Rule 12(b)(1), raising a factual challenge to the Court’s subject matter jurisdiction.

So adding factual allegations to the Complaint serves no purpose, particularly since the Jarretts

have already made the same allegations in the declaration attached to their opposition to the motion

to dismiss. Adding a request for prospective injunctive relief is also futile because both injunctive

and declaratory relief are precluded by statute in this case.

       In short, since the contents of the Complaint have no bearing on the pending motion to

dismiss for lack of subject matter jurisdiction, Plaintiffs need not amend the Complaint at all. And



    Case 3:21-cv-00419 Document 57 Filed 04/11/22 Page 1 of 9 PageID #: 699
the legal issues they seek to address with those amendments have already been fully briefed to the

Court. Their motion should be denied.

                                           Background

        On February 10, 2022, the Court held a scheduling conference. (Dkt. No. 38). Before the

conference, Plaintiffs advised the Court in a letter filed on the docket that the United States had

authorized a full income tax refund. (Dkt. No. 37). The parties discussed a schedule going forward

and agreed that they would propose a briefing schedule on the United States’ motion to dismiss

and file a proposed schedule after the United States issued the refund check. (Dkt. No. 38).

Plaintiffs proposed a schedule, the United States agreed, and Plaintiffs filed the briefing schedule

with the Court. (Dkt. Nos. 39-40). At no point was amending the Complaint discussed.

        On February 28, 2022, after sending the refund check to Plaintiffs’ counsel, the United

States moved to dismiss this case under Rule 12(b)(1), arguing that this case was now moot and

that the judicial exceptions to mootness did not apply. (Dkt No. 42). In response to the Motion,

Plaintiffs’ counsel asked – for the first time – if the United States would consent to a motion for

leave to amend the Complaint, explaining “Though we don’t have the exact language yet, the

amended complaint would essentially add allegations about what happened with the refund check,

why the Jarretts see that as inadequate, and why the Jarretts still need relief going forward.” The

United States did not consent, pointing out that its motion was a factual challenge to subject matter

jurisdiction.

        Plaintiffs ultimately did not move for leave to amend as a response to the motion to dismiss.

They instead opposed the motion and submitted a declaration from Joshua Jarrett containing what

the United States assumes are the additional factual allegations Plaintiffs’ counsel had raised in

the earlier email exchange. (Dkt. Nos. 51, 51-1). The Opposition argues at length that Plaintiffs’




                                     2
    Case 3:21-cv-00419 Document 57 Filed 04/11/22 Page 2 of 9 PageID #: 700
suit is not moot because they are “entitled to” prospective relief and thus have not been “made

whole” by the refund. Pl. Opp’n at 18, 21. The United States replied on March 21, 2022. United

States’ Reply in Support of Motion to Dismiss [Dkt. No. 43] (“Reply”). In its Reply, the United

States pointed out (among other things) that Plaintiffs did not seek prospective relief in their

Complaint and were precluded by statute from obtaining it. Id. at 3-4.

        Plaintiffs now move for leave to add three factual allegations to the Complaint: (i) “In 2019

and in every year since, Mr. Jarrett engaged in a staking enterprise. . .”; (Proposed Am. Compl.

¶ 4 [amended language in italics]); (ii) “Mr. Jarrett intends to continue engaging in this staking

enterprise for the foreseeable future” (id. ¶ 5); and (iii) “In the Jarretts [sic] 2020 and 2021 taxable

years, the Jarretts did not have deductions, losses, or other items that would prevent their reporting

of another overpayment” (id. ¶ 31). They also seek to amend their prayer for relief to ask for: “a

permanent injunction against the Internal Revenue Service, preventing it from treating tokens

created by the Jarretts as income.” Id. at 8. They argue the amendment is appropriate because the

United States has “brought a facial attack on the Jarretts’ Complaint” in its Reply. Motion for

Leave to Amend [Dkt. No. 55] (“Mot. for Leave”) at 4.

                                              Argument

        Rule 15(a)(2) provides that courts “freely” grant leave to amend “when justice so requires.”

Even so, a motion for leave to amend should be denied when the amendment would be futile.

Beydoun v. Sessions, 871 F.3d 459, 469 (6th Cir. 2017). An amendment is futile when it would not

withstand a motion to dismiss for lack of jurisdiction under Rule 12(b)(1). Miller v. Calhoun Cty.,

408 F.3d 803, 817 (6th Cir. 2005); Lee v. Shulman, No. 12-2529-JTF-dkv, 2013 WL 1773615, at

*4 (W.D. Tenn. Apr. 5, 2013 ).




                                     3
    Case 3:21-cv-00419 Document 57 Filed 04/11/22 Page 3 of 9 PageID #: 701
       The Jarretts’ proposed amendments are futile. Amending the Complaint to add factual

allegations serves no purpose when the pending motion to dismiss is a factual challenge to subject

matter jurisdiction. And amending the Complaint to add a request for prospective relief is futile

because both declaratory and injunctive relief are unavailable.

I.     PLAINTIFFS’ PROPOSED FACTUAL AMENDMENTS ARE FUTILE BECAUSE
       THE UNITED STATES HAS ALREADY MOVED TO DISMISS RAISING A
       FACTUAL CHALLENGE TO SUBJECT MATTER JURISDICTION

       Plaintiffs first seek leave to add three factual allegations to the Complaint: (1) “In 2019

and in every year since, Mr. Jarrett engaged in a staking enterprise. . .”; (Proposed Am. Compl.

¶ 4 [amended language in italics]); (2) “Mr. Jarrett intends to continue engaging in this staking

enterprise for the foreseeable future” (id. ¶ 5); and (3) “In the Jarretts [sic] 2020 and 2021 taxable

years, the Jarretts did not have deductions, losses, or other items that would prevent their reporting

of another overpayment” (id. ¶ 31). These allegations – which Plaintiffs have already raised in

opposition to the motion to dismiss – would have no bearing on the pending motion to dismiss.

       “A Rule 12(b)(1) motion for lack of subject matter jurisdiction can challenge the

sufficiency of the pleading itself (facial attack) or the factual existence of subject matter

jurisdiction (factual attack).” Cartwright v. Garner, 751 F.3d 752, 759 (6th Cir. 2014)

(citing United States v. Ritchie, 15 F.3d 592, 598 (6th Cir. 1994)). “A facial attack questions merely

the sufficiency of the pleading. When reviewing a facial attack, a district court takes the allegations

in the complaint as true. If those allegations establish federally-cognizable claims, jurisdiction

exists. A factual attack instead raises a factual controversy concerning whether subject-matter

jurisdiction exists.” Duren v. Byrd, No. 1:18-CV-00084, 2021 WL 3848105, at *5 (M.D. Tenn.

Aug. 26, 2021).

       The parties agree that the pending motion to dismiss is a “factual attack” on the existence

of subject matter jurisdiction. Mot. for Leave at 3. The United States has argued that post-


                                      4
     Case 3:21-cv-00419 Document 57 Filed 04/11/22 Page 4 of 9 PageID #: 702
complaint actions – specifically, a full refund – renders Plaintiffs’ refund claim moot. That is not

a pleading issue, and both sides have introduced evidence outside the pleadings. See Declaration

of Ryan O. McMonagle [Dkt. No. 41-1]; Declaration of Joshua Jarrett [Dkt. No. 51-1] (“Jarrett

Dec.”). When a defendant makes a factual attack on subject matter jurisdiction, e.g., by arguing

mootness, the Court determines “the existence of jurisdiction through facts not allegations, so

amendment of the Complaint would be of no use.” Berry v. Comm’r of Soc. Sec., No. CV 19-495-

DLB, 2021 WL 1432213, at *3 (E.D. Ky. Apr. 15, 2021). 1

       The same is true here. The Jarretts need not add the factual allegations in paragraphs 4, 5,

and 31 because they can introduce (and have already introduced) those allegations as evidence in

support of their Opposition. Jarrett Dec. ¶¶ 5, 14.

       As discussed in the parties’ briefing on the pending Motion to Dismiss, those added

allegations are not enough to save Plaintiffs’ refund action anyway. Mr. Jarrett claims he engaged

in a “staking enterprise” in 2020 and 2021, and that he “intend[s] to continue engaging in such

staking enterprise for the foreseeable future.” But he has now twice – both in his declaration and

in his Proposed Amended Complaint – declined to allege that he has reported those transactions to

the IRS as income or fully paid taxes on them, let alone claimed a refund of the taxes paid on the

staking income. Those requirements are jurisdictional: he must do both before being capable of

suing for another refund for another tax year. 26 U.S.C. § 7422(a); Flora v. United States, 362




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  Plaintiffs have raised to the United States this Court’s decision in Vision Real Estate Invest.
Corp v. Nashville, No. 3:18-cv-0014, 2018 WL 10228378 (M.D. Tenn. Sept. 28, 2018), in which
a Plaintiff successfully sought leave to amend in response to a motion to dismiss. But that case
involved a 12(b)(6) motion to dismiss – i.e., a pleading motion – not a 12(b)(1) motion for lack
of subject matter jurisdiction. Id. at *2. The allegations of the complaint were at issue in Vision
Real Estate. The allegations of the Complaint are not at issue here. The Court should therefore
determine subject matter jurisdiction first.


                                     5
    Case 3:21-cv-00419 Document 57 Filed 04/11/22 Page 5 of 9 PageID #: 703
U.S. 145, 177 (1960). And since he has not, he cannot meet his own burden of showing that he

will “again be subjected” to the denial of a refund claim. Reply at 5.

II.     PLAINTIFFS’ REQUEST TO AMEND THE COMPLAINT TO SEEK
        PROSPECTIVE RELIEF IS FUTILE BECAUSE THAT RELIEF IS BARRED BY
        STATUTE

        Plaintiffs also want to amend the Complaint to “clarify that they seek injunctive and

declaratory relief.”2 It does not matter whether or not they ask for such relief, because the Anti-

Injunction Act (26 U.S.C. § 7421) and the Declaratory Judgment Act (28 U.S.C. § 2201) expressly

preclude it.

        Plaintiffs’ request for injunctive relief is barred by 26 U.S.C. § 7421. The Tax Anti-

Injunction Act bars any suit “for the purpose of restraining the assessment or collection of any

tax.” 26 U.S.C. § 7421(a). A “permanent injunction against the Internal Revenue Service,

preventing it from treating tokens created by the Jarretts as income” is exactly that. Enochs v.

Williams Packing & Nav Co., 370 U.S. 1, 7 (1962); McNeil v. Comm’r, 179 F. Supp. 3d 1, 7

(D.D.C. 2016) (suit to enjoin IRS from assessing income taxes against nonfiler barred by Tax Anti-

Injunction Act); aff’d McNeil v. Comm’r, 689 F. App’x 648, 649 (D.C. Cir. 2017) (“The Complaint

effectively challenged the legality of income tax and the requirement to file tax returns, thereby

falling within the clear ambit of the Anti-Injunction Act.”).3

        Their request for declaratory relief also runs headlong into the express language of the

Declaratory Judgment Act. Under the Declaratory Judgment Act, declaratory relief is not


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  The Jarretts did not try to meet and confer with the United States about the proposed
amendment to their prayer for relief. They conferred before with the United States only about the
additional factual allegations in paragraphs 4, 5, and 31. Even then, they declined to provide the
“exact language” they wanted to add to the Complaint.
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  Plaintiffs have not argued – either in their Opposition to the Motion to Dismiss or here – that
they meet the limited exception to the Anti-Injunction Act. Enochs, 570 U.S. at 7 (to avoid bar of
§ 7421, plaintiff must show “(1) under no circumstances could the government prevail; and (2)
“equity jurisdiction otherwise exists.”).


                                       6
      Case 3:21-cv-00419 Document 57 Filed 04/11/22 Page 6 of 9 PageID #: 704
authorized “with respect to federal taxes other than actions brought under [26 U.S.C. § 7428].” 28

U.S.C. § 2201(a). Moreover, the “federal tax exception to the Declaratory Judgment Act is at least

as broad as the Anti-Injunction Act” so Plaintiffs “cannot use the former statute to get around the

latter.” Morris v. United States, 540 F. App’x 477, 483 (6th Cir. 2013) (quoting Bob Jones Univ.

v. Simon, 416 U.S. 725, 732 n.7 (1974)).

       For these reasons, the amendment is futile. United States v. Gordon, No. 3:18-cv-00734-

GNS-CHL, 2019 WL 6640289, at *6 (W.D. Ky. Dec. 5, 2019) (amendment to add claim for

injunctive relief barred by § 7421 is futile); Bullock v. I.R.S., Civ. Action No. 1:12-cv-1061, 2012

WL 2813225, at *1 (M.D. Pa. July 10, 2012) (where § 7421 bars suit, amendment is futile); Gracey

v. IRS, No. CIV-07-228-M, 2007 WL 3226817, at *1 (W.D. Okla. Oct. 29, 2007) (same).

       Even so, Plaintiffs still claim this amendment is necessary because the United States

pointed out in its Reply that they had not requested an injunction or declaratory judgment in the

Complaint. Motion for Leave at 4. According to their Motion, this one sentence in the United

States’ Reply converted what they agree is a factual challenge to subject matter jurisdiction

(because they obtained a full refund) into a facial challenge to their pleading (because they did not

ask for prospective relief).

       That argument is nonsensical. First, as discussed above, it does not matter whether

Plaintiffs asked for declaratory and injunctive relief: they cannot get it here. Second, Plaintiffs

argued in their Opposition to the United States’ Motion to Dismiss that they are “entitled to seek

forward-looking injunctive relief,” which misleadingly suggests that they had asked for it when

they did not. Pl. Opp’n at 21. The United States was entitled to correct that misleading suggestion.

And that is all the United States did. That correction does not somehow magically change the

pending Rule 12(b)(1) motion into a different type of motion.




                                     7
    Case 3:21-cv-00419 Document 57 Filed 04/11/22 Page 7 of 9 PageID #: 705
       In any event, Plaintiffs’ Motion for Leave to Amend is not the appropriate vehicle for

deciding what remedies are available to Plaintiffs in a refund suit. The parties have briefed the

availability of prospective remedies at length in the pending Motion to Dismiss. That is a pure

question of law for the Court to decide. Plaintiffs’ attempt to amend the Complaint to litigate that

question here is little more than an end run around the Rule 12(b)(1) Motion to obtain the ruling

they want under the more lenient standards of Rule 15. Or, perhaps, to simply delay dismissal to

take a second shot at opposing the United States’ Motion to Dismiss. Either way, the Court should

consider this issue on the pending Motion to Dismiss and should decide this Motion for Leave to

Amend if – and only if – it rules that this suit is not moot.

Dated: April 11, 2022                                  Respectfully submitted,

                                                       DAVID A. HUBBERT
                                                       Deputy Assistant Attorney General


                                                       /s/ Ryan O. McMonagle
                                                       RYAN O. MCMONAGLE
                                                       STEPHEN S. HO
                                                       Trial Attorneys, Tax Division
                                                       U.S. Department of Justice
                                                       P.O. Box 227
                                                       Washington, D.C. 20044
                                                       202-307-1355; 202-616-8994 (v)
                                                       202-514-6866 (f)
                                                       Ryan.McMonagle@usdoj.gov
                                                       Stephen.S.Ho@usdoj.gov




                                     8
    Case 3:21-cv-00419 Document 57 Filed 04/11/22 Page 8 of 9 PageID #: 706
                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 11th day of April, 2022, I electronically filed the foregoing

Opposition to Motion for Leave to Amend with the Clerk of Court using the CM/ECF system,

which will send notification of such filing to the following:

       David L. Forst                                           Jason W. Callen
       Fenwick & West LLP                                       K&L Gates LLP
       801 California Street                                    222 Second Avenue South
       Mountain View, CA 94041                                  Suite 1700
       dforst@fenwick.com                                       Nashville, TN 37201
                                                                Jason.callen@klgates.com
       Sean P. McElroy
       Fenwick & West LLP                                       Charles Malone
       801 California Street                                    K&L Gates LLP
       Mountain View, CA 94041                                  222 Second Avenue South
       smcelroy@fenwick.com                                     Suite 1700
                                                                Nashville, TN 37201
       Jeffrey M. Harris                                        Charlie.Maleon@klgates.com
       Consovoy McCarthy PLLC
       1600 Wilson Blvd., Ste. 700                              R. Gregory Parker
       Arlington, VA 22209                                      K&L Gates LLP
       jeff@consovoymccarthy.com                                222 Second Avenue South
                                                                Suite 1700
       Cameron Norris                                           Nashville, TN 37201
       Consovoy McCarthy PLLC                                   Greg.parker@klgates.com
       1600 Wilson Blvd., Ste. 700
       Arlington, VA 22209                                      Joseph F. Wellborn, III
       cam@consovoymccarthy.com                                 K&L Gates LLP
                                                                222 Second Avenue South
       J. Abraham Sutherland                                    Suite 1700
       104 Prospect Street                                      Nashville, TN 37201
       Black Mountain, NC 28711                                 Joe.Wellborn@klgates.com
       abesutherland@gmail.com



                                              /s/ Ryan O. McMonagle
                                              RYAN O. MCMONAGLE
                                              Trial Attorney
                                              United States Department of Justice, Tax Division




                                     9
    Case 3:21-cv-00419 Document 57 Filed 04/11/22 Page 9 of 9 PageID #: 707
